                                                                                     ____ FILED   ___ ENTERED
           Case 1:22-cr-00435-RDB    Document 1-2 Filed 10/12/22 Page 1 ____
                           1:22-mj-02917-MJM/1:22-mj-02918-MJM          of 17LOGGED                _____ RECEIVED

                                                                                     4:35 pm, Oct 12 2022
                                                                                     AT BALTIMORE
                                                                                     CLERK, U.S. DISTRICT COURT
                          AFFIDAVIT IN SUPPORT OF CRIMINAL                           DISTRICT OF MARYLAND
                          COMPLAINT AND SEARCH WARRANT                               BY ______________Deputy

       I, Special Agent Keith Murray, being duly sworn, depose and state that:

                                        INTRODUCTION

       1.       I make this affidavit in support of a Criminal Complaint and an application under

Rule 41 of the Federal Rules of Criminal Procedure for a search warrant authorizing the

examination of property, specifically one Sky Device tablet, identified in Attachment A currently

in law enforcement possession, and the extraction from that property of electronically stored

information as described in Attachment B.

       2.       I am an investigative or law enforcement officer of the United States within the

meaning of Title 18, United States Code, Section 2510(7), that is, an officer of the United States

who is empowered by law to conduct investigations and to make arrests for Interstate

Threatening Communications, in violation of 18 U.S.C. § 875(c) (“Target Offense”), as well as

for Fed. R. Crim. P. 41 purposes.

      3.        I am a Special Agent with the Federal Bureau of Investigation (FBI), and have

been so employed since July 2017. I am currently assigned to the Baltimore Field Office of the

FBI and have worked matters involving Civil Rights violations to include Hate Crimes, Federally

Protected Activities, Damage to Religious Property, and Criminal Interference with Rights to

Fair Housing. I have conducted numerous Civil Rights trainings to colleges and universities and

to police municipalities across the state of Maryland.

      4.        I have received extensive training in interview and interrogation techniques, arrest

procedures, and the preparation and execution of search and seizure warrants. I have conducted

and assisted in public corruption investigations in various capacities. As a Special Agent, I have

written and executed multiple search warrants and have planned and executed multiple arrest
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operations. I have participated in the seizure of evidentiary items, the transport of defendants,

and testified in court proceedings.

      5.        The statements contained in this Affidavit are based in part on: information

provided by other agencies, written reports about this and other investigations that I have

received, directly or indirectly, from other law enforcement agents; independent investigation;

and my experience, training, and background as a Special Agent with the FBI. Because this

Affidavit is being submitted for the limited purpose of establishing probable cause to believe that

DAVID LEE BRADBY, committed the below-described offense, and used the Sky Device

Tablet to commit said offenses, I have not included every detail of the investigation. In addition,

unless otherwise indicated, all statements contained in this Affidavit are summaries in substance

and in part. The following is true to the best of my knowledge and belief.

      6.        Your affiant knows from his training and experience in investigating Civil Rights

Violations that social media and other internet-based communications platforms such as

Instagram, Facebook and TextNow are often used as primary communicating/messaging services

by individuals committing these crimes. Further, your affiant knows from his training and

experience that messages exchanged on these platforms contain text, audio, video, and

photographic images that are used to communicate in furtherance of criminal acts, and to share

photographs of the fruits and instrumentalities of those crimes.

       7.       This Court has jurisdiction to issue the requested warrant because it is “a

court of competent jurisdiction” as defined by 18 U.S.C. § 2711. See 18 U.S.C. §§ 2703(a),

(b)(1)(A), & (c)(1)(A). Specifically, the Court is “a district court of the United States . . .

that has jurisdiction over the offense being investigated.” 18 U.S.C. § 2711(3)(A)(i).
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                                      PROBABLE CAUSE

       8.      Based on my training and experience and the facts as set forth in this affidavit, I

respectfully submit there is probable cause to believe that David Lee Bradby (hereinafter

“BRADBY”) committed violations of 18 U.S.C. § 875(c): Interstate Threatening

Communications, by using several TextNow accounts to send text messages to VICTIM 1, an

African-American woman residing in the state of West Virginia, in which he posed as another

man, Jeremy Micheal [sic] Stratton, 1 and threatened to commit violent acts against VICTIM 1

and her relatives, expressly and by making references to the Klu Klux Klan. Further, there is

also probable cause to search the information described in Attachment A for evidence of these

crimes as further described in Attachment B.

       9.      The facts and circumstances alleged in this Affidavit occurred in part within the

District of Maryland. More specifically, the defendant, DAVID LEE BRADBY, resides within

the city limits of Baltimore, Maryland.

       9.      Victim 1 is an African-American female who resides in Martinsburg, West

Virginia, with her husband. Victim 1 received racially biased and threatening messages from

several phone numbers from February, 2022 to May, 2022. The first message was received on

February 13th, 2022. Victim 1 was at her residence in Martinsburg, West Virginia when she

received the threatening messages.

       10.     On February 13, 2022, at 5:47 pm, Victim 1 received a text message to her

personal cell phone from phone number 404-947-3986 (“Target Phone #1”) that she considered

to be a threat. The message is depicted below:



1
 As indicated in the communications, the sender used the name Jeremy Micheal [sic] Stratton.”
As will be made clearer later in the affidavit, with the exception of a misspelled middle name,
this name is similar to a known person named Jeremy Michael Stratton.
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       11.     On or about February 15, 2022, at 10:00 pm, Victim 1 received the same message

again to her cell phone. The message was sent from the same telephone number, Target Phone

#1. On February 16, 2022, at 3:03 pm, Victim 1 received the same message again to her cell

phone from the same phone number, Target Phone #1. Victim 1 was at her home residence in

Martinsburg, West Virginia when she received the threatening messages.

       12.    On February 26, 2022, at 10:13 am, Victim 1 received another threatening

message on her personal cell phone. The content of the message was the same as the prior three

(3) messages but the new message was sent from phone number 443-582-3324 (“Target Phone

#2”). Victim 1 was at her home residence in Martinsburg, West Virginia when she received the

threatening message

       13.    On March 20, 2022, at 1:39 am, Victim 1 received another threatening message

on her personal cell phone. The content of the message was the same as the prior messages but

the latest message was sent from phone number 443-333-7570 (“Target Phone #3”). On April
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3, 2022, at 12:30 pm and on April 5, 2022, at 1:59 am, Victim 1 received the same message from

Target Phone #3. Victim 1 was at her home residence in Martinsburg, West Virginia when she

received the threatening messages

       14.    On April 14, 2022, at 6:59 pm, Victim 1 received another threatening message on

her personal cell phone. The content of the message was the same as the prior messages but the

new message was sent from phone number 443-488-6093 (“Target Phone #4”). On April 21,

2022, at 11:21 pm, Victim 1 received the same message from Target Phone #4. Victim 1 was at

her home residence in Martinsburg, West Virginia when she received the threatening messages.

       15.    On April 30, 2022, at 10:14 pm, Victim 1 received another threatening message

on her personal cell phone. The content of the message was the same as the prior messages but

the new message was sent from phone number 443-342-5445 (“Target Phone #5”). On May

15, 2022, at 6:56 pm, Victim 1 received the same message from Target Phone #5. Victim 1 was

at her home residence in Martinsburg, West Virginia when she received the threatening

messages.

       16.    On May 24, 2022, at 11:56 pm, Victim 1 received another threatening message on

her personal cell phone. The content of the message was the same as the prior messages but the

new message was sent from phone number 443-583-8576 (“Target Phone #6”). Victim 1 was

at her home residence in Martinsburg, West Virginia when she received the threatening message.

                                      Investigative Steps

       17.    Target Phone #1 was run through the Electronic Telephone Network Services

(ETNS) database. Query results revealed the phone was registered to Bandwith, a software and

communications company.
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       18.      On March 7, 2022, a Federal Grand Subpoena was served to Bandwith for all

subscriber information relating to Target Phone #1. On March 9, 2022, Bandwith told the FBI

that the Grand Jury Subpoena needed to be issued to TextNow, an internet based

communications service.

       19.      On March 23, 2022, a Federal Grand Jury Subpoena was served to TextNow for

all subscriber information and IP logs relating to Target Phone #1. On March 23, 2022,

TextNow provided the following information was provided to the FBI regarding Target Phone

#1. Target Phone #1 is registered to email address: williammaglidt@gmail.com, registration

date: 10-09-2021 16:06:59 UTC, registration IP: 72.81.240.47. The account was owned and

operated by this user from the date range of 2/8/2022 to 2/26/2022.

       20.      On April 8, 2022, TextNow provided the following information was provided to

the FBI regarding Target Phones #2 and #3. Both Target Phone #2 and Target Phone #3 are

registered to email address: williammaglidt@gmail.com, registration date 10-09-2021 16:06:59

UTC, registration IP: 72.81.240.47. All subscriber information for Target Phone #2 and Target

Phone #3 is identical to Target Phone #1.

       23.      On May 10, 2022, TextNow provided the following information to the FBI

regarding Target Phone #4. Target Phone #4 is registered to email address:

williammaglidt@gmail.com, registration date: 10-09-2021 16:06:59 UTC, registration IP:

72.81.240.47.

       24.      On June 7, 2022, TextNow provided the following information to the FBI

regarding Target Phone #5. Target Phone #5 is registered to email address:

williammaglidt@gmail.com, registration date: 10-09-2021 16:06:59 UTC, registration IP:

72.81.240.47.
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       25.     On June 7, 2022, TextNow provided the following information to the FBI

regarding Target Phone #6. Target Phone #6 is registered to email address:

williammaglidt@gmail.com, registration date: 10-09-2021 16:06:59 UTC, registration IP:

72.81.240.47. A list of IP addresses and corresponding dates and times for log in attempts to the

account were also provided.

       26.     On April 5, 2022, Google provided the following subscriber information to the

FBI in response to a Federal Grand Subpoena regarding the email account

williammaglidt@gmail.com which was used to create the TextNow accounts: Name: Jeremy

Mitchell, Google Account ID: 517882698790. Google also provided the IP address for 55 login

and logout attempts for the account.

       27.     The messages sent to Victim 1 identified a particular individual, “Jeremy Micheal

Stratton” as the sender. A search of the database Clear using “Jeremy Michael Stratton” 2 and

“Maryland” as search terms returned the following results: Jeremy Micheal Stratton, home

address: 6278 Danville Avenue, Dundalk, MD, 21222, MD state ID# MD4034546.

       28.     Additionally, the 12-digit numbers listed on the threatening messages appeared

related to a Maryland Soundex number. The 12 digits, “363 402 603 898,” were run through the

Maryland Soundex database and resulted in the following biographical information: Jeremy

Micheal Stratton, home address 6728 Danville Avenue, Dundalk, MD, 21222. Thus, it appears

the individual who sent the text message included Jeremy Micheal Stratton’s driver’s license

number in the threatening messages.




2
 Your affiant mistakenly assumed that the Statton’s middle name was spelled “Michael”
whereas the results disclosed that in fact, he spells his middle name “Micheal.”
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       29.     On May 13, 2022, TextNow provided call detail records, text messages, and IP

dates and times for Target Phone #1, Target Phone #2, and Target Phone #3.

       30.     TextNow provided five (5) log in IP addresses for Target Phone #3 for March

18, 2022. The information for the five (5) log ins are:

               Date:          Time:                  IP address:

               3/18/2022      17:01:52 UTC           192.12.14.1

               3/18/2022      17:01:53 UTC           192.12.14.1

               3/18/2022      17:01:58 UTC           192.12.14.1

               3/18/2022      17:01:59 UTC           192.12.14.1

               3/18/2022      17:02:44 UTC           192.12.14.1

       31.     An analysis of the aforementioned IP addresses revealed that IP address

192.12.14.1 is registered to the following Internet Service Provider – Johns Hopkins University,

Baltimore, MD, 21218.

       32.     On May 17, 2022, your affiant interviewed William Bunch with the Johns

Hopkins Public Safety Department. Bunch advised that on March 18, 2022, BRADBY was

observed on internal security cameras inside Johns Hopkins Hospital walking through the

hallways. BRADBY was placing flyers under office doors soliciting for escorting services. ,

Carolyn Bradby, BRADBY’s aunt confirmed to William Bunch that the male seen in the security

camera footage was in fact BRADBY.

       33.     On April 13, 2022, Donald Leatherwood with the Maryland Department of Public

Safety Correctional Services (DPSCS) informed your affiant that during an April 13, 2022,

check-in with his probation officer, BRADBY provided a contact number of 813-693-2808.
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       34.     On June 7, 2022, TextNow provided the following subscriber information and

log-in information for number 813-693-2808: Username: rbcbradby. Name: Rbc Bradby.

Registration date: 9/30/2021. TextNow also provided IP addresses with corresponding dates and

times for log in attempts to the account.

       35.     An analysis of the IP log in attempts for both Target Phone #6 and for phone

number 813-693-2808 revealed the following: on May 25, 2022, the IP addresses for login

attempts for the entire day for both Target Phone #6 and 813-693-2808 are listed as

98.204.44.6. However, at no point are both TextNow phone numbers logged in at the same time.

The accounts are always either several seconds or several minutes apart suggesting that the two

numbers are on one physical device, but the user is switching back and forth between accounts.

       36.     An open source search of the IP address 98.204.44.6 revealed that is owned by

Comcast LLC. Comcast LLC, responded to a Grand Jury subpoena for IP address 98.204.44.6

showing it is registered to Divine Light Inc., Baltimore, at 612 N Monroe Street, Baltimore, MD.

                    Jeremy Stratton, Barbara Potyraj, and David Lee Bradby

       37.     A review of Baltimore County Police Reports, open source database checks,

social media platforms and interviews revealed the following information: Jeremy Micheal

Stratton and Barbara Potyraj have two (2) children together and were in a relationship until

September, 2022. Stratton and Potyraj lived at 2008 Wareham Road, Dundalk, MD.

Throughout the course of their relationship and prior to their most recent breakup, Stratton and

Potyraj had small periods of time during which they were not together. Potyraj still currently

resides at 2008 Wareham Road, Dundalk, MD.

       39.     Investigators learned that Potyraj and BRADBY also had a relationship of sorts.

According to the database Accurint and Facebook photos taken from inside his home and posted
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to the Facebook account “Rbc Bradby,” BRADBY’s residence for a period of time was 612 N

Monroe Street, Baltimore, MD. On one occasion in November 2021, BRADBY posted a photo

of snowfall outside his residence. The photo depicts two street signs at an intersection, N.

Monroe Street and Arunah Avenue. This intersection is located directly across the street from

612 N. Monroe Street. During a June 16, 2022 interview, Potyraj confirmed that she visited

BRADBY at 612 N Monroe Street, Baltimore, MD in 2021.

       40.     Baltimore County Police Reports revealed that on July 7, 2018, a fire was started

at 6728 Danville Avenue, Dundalk, MD. Stratton and Potyraj were inside the residence at the

time of the fire. Prior to the start of the fire, Potyraj received a text message from BRADBY

stating, “oh your ignoring me, I can fix that now!” After realizing a fire had started at the home,

Stratton exited the residence and saw an individual who he recognized as BRADBY running

away from the residence. The fire caused significant damage to the residence. No individuals

were arrested in connection with the fire.

       41.     A criminal history/NCIC query for BRADBY resulted in the following

information. BRADBY has been arrested and charged with various crimes dating back to 2012.

Those charges include but are not limited to: Assault in the 2 nd degree (2012) for which he was

convicted and sentenced to two (2) years’ probation; Burglary in the 1 st, 3rd, and 4th degree

(2018) for which he was convicted of Burglary in the 1st degree and sentenced to ten years’

incarceration, all 10 years suspended; Possession of a deadly weapon with the intent to injure

(2019); and Sexual contact in the 4th degree, Assault in the 2nd degree, and Making Electronic

Harassing Communications (2021) for which he is still pending trial.

                                             Other Parties
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         42.   Jeremy Stratton’s minor sister had a relationship with the minor child of William

Maglidt – the name used in the email address of the Google account used to register the

TextNow phone numbers. On September 19, 2021, Baltimore County Police officers responded

to 6728 Danville Avenue, Dundalk, MD for a report of a disturbance, involving Jeremy

Stratton’s sister and William Maglidt’s minor child. William Maglidt was on scene during the

incident, suggesting a connection between William Maglidt and Jeremy Stratton.

         43.   In July 2021, Stratton moved out of the residence at 2008 Wareham Road,

Dundalk, MD after temporarily ending his relationship with Potyraj. In September 2021, the

minor child of William Maglidt visited Potyraj at 2008 Wareham Road, Dundalk, MD. After

visiting Potyraj, the minor child left the residence but left a cell phone behind.

         44.   In late September 2021, BRADBY was released from jail and messaged Potyraj

that he was bored and wanted to hang out. BRADBY visited Potyraj at 2008 Wareham Road,

Dundalk, MD. Potyraj believes BRADBY found the cell phone left by the minor child

(containing the email account williammaglidt@gmail.com) and took it, along with Jeremy

Stratton’s driver’s license.

         45.   In October 2021, Stratton moved back in with Barbara at 2008 Wareham Road,

Dundalk, MD.

                                         Facebook Posting

         46.   I believe the Facebook account “Rbc Bradby” is registered to BRADBY. This

account posts photos of an individual matching the physical description of BRADBY. The

photos were compared to BRADBY’s Maryland Vehicle Administration (MVA) driver’s license

photo.
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       47.    On January 28, 2022 – about three weeks before the threatening text messages to

Victim 1 began, the following message was posted to the Facebook account “Rbc Bradby”:

       “Jeremy Stratton is a Rat…Keep making fake emails…stalking my

       pages…williammaglidt@gmail.com Jeremystretton666@gmail.com”




The post includes the email address williammaglidt@gmail.com, the same email address that

was used to create the TextNow accounts responsible for sending threatening messages to Victim

1.

       48.    As previously noted, Google provided IP addresses for all log-in and log-out

attempts for the williammaglidt@gmail.com account. 46 of the 55 IP addresses pinged off a cell

tower in the vicinity of BRADBY’s suspected residence at the time, 612 N Monroe Street,

Baltimore, MD – supporting my belief that BRADBY controls the williammaglidt@gmail.com

account.

       49.    Below the message referenced in paragraph 47 above, but a part of the same

Facebook post, was a screenshot of a test message exchange, provided below:
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The content of the message appears to show BRADBY using a TextNow account to impersonate

Jeremy Stratton. At the time of this posting, Roderick Johnson was listed as Maryland’s Most

Wanted by the United States Marshals Service for the murder of his sister. I believe that

BRADBY was posting an image of a fake attempt to “SWAT” Stratton at that address; that is, to

send law enforcement to an address under false pretenses in order to cause harm.

       50.     The FBI conducted an open-source search of “TextNow message chat” and

analyzed the resulting images. The images match the description of the above referenced text

message chat that was posted by Facebook account “Rbc Bradby” on January 28, 2022. Below

is an example of an image search result for a TextNow message:
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The image depicted above is not an actual text chat but an advertisement from the TextNow

website depicting a representative screenshot of what a TextNow chat looks like. The format,

the colors, and the control icons located at the top of the screenshot are identical to the message

chat posted by the Facebook account “Rbc Bradby” on January 28, 2022, suggesting that “Rbc

Bradby” is utilizing TextNow to send messages.

                                         Seizure of Phone

       51.     On September 14, 2022, Potyraj contacted your affiant and advised that

BRADBY surrendered to the Baltimore County Police Department on July 15, 2022 due to
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multiple outstanding warrants for his arrest. Potyraj stated that prior to his arrest, BRADBY had

abandoned his backpack containing personal items at Stansbury Park, Dundalk, MD. Potyraj

retrieved the backpack after he was taken into custody and added that one of the personal items

inside of the backpack was BRADBY’s cell phone.

       52.      On September 15, 2022, your affiant met with Potyraj at her residence at 2008

Wareham Road, Dundalk, MD. As Potyraj voluntarily turned over BRADBY’s backpack

containing one (1) Sky Device Tablet, Serial number SKY0XS2107101185, she said “this has all

of his TextNow accounts on it.” I took possession of the phone and placed it into evidence on

the same day.

       53.      The Device is currently in the possession of the FBI in storage at the FBI’s

evidence room, 2600 Lord Baltimore Drive, Baltimore, MD 21244.

                            Electronic Storage and Forensic Analysis

       54.      Based on my knowledge, training, and experience, I know that electronic devices

can store information for long periods of time. Similarly, things that have been viewed via the

Internet are typically stored for some period of time on the device. This information can

sometimes be recovered with forensic tools

       55.      Forensic evidence. As further described in Attachment B, this application seeks

permission to locate not only electronically stored information that might serve as direct evidence

of the crimes described on the warrant, but also forensic evidence that establishes how the Device

was used, the purpose of its use, who used it, and when. There is probable cause to believe that

this forensic electronic evidence might be on the Device because:

                a.     Data on the storage medium can provide evidence of a file that was once

on the storage medium but has since been deleted or edited, or of a deleted portion of a file
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(such as a paragraph that has been deleted from a word processing file). Forensic evidence on a

device can also indicate who has used or controlled the Device. This “user attribution” evidence

is analogous to the search for “indicia of occupancy” while executing a search warrant at the

residence.

               b.      A person with appropriate familiarity with how an electronic device works

may, after examining this forensic evidence in its proper context, be able to draw conclusions

about how electronic devices were used, the purpose of their use, who used them, and when.

               c.      The process of identifying the exact electronically stored information on a

storage medium that are necessary to draw an accurate conclusion is a dynamic process.

Electronic evidence is not always data that can be merely reviewed by a review Team and passed

along to investigators. Whether data stored on a computer is evidence may depend on other

information stored on the computer and the application of knowledge about how a computer

behaves. Therefore, contextual information necessary to understand other evidence also falls

within the scope of the warrant.

               d.      Further, in finding evidence of how a device was used, the purpose of its

use, who used it, and when, sometimes it is necessary to establish that a particular thing is not

present on a storage medium.

       56.     Nature of examination.       Based on the foregoing, and consistent with Rule

41(e)(2)(B), the warrant I am applying for would permit the examination of the Device consistent

with the warrant. The examination may require authorities to employ techniques, including but

not limited to computer-assisted scans of the entire medium, that might expose many parts of the

Device to human inspection in order to determine whether it is evidence described by the warrant.
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       57.     Manner of execution. Because this warrant seeks only permission to examine a

device that is already in law enforcement’s possession, the execution of this warrant does not

involve the physical intrusion onto a premises. Consequently, I submit there is reasonable cause

for the Court to authorize execution of the warrant at any time in the day or night.

                                            Conclusion

       58.     Based on a review of this investigation, and based on my knowledge and experience

with Civil Rights Investigations, I, as your Affiant, submit that there is probable cause to believe

that BRADBY committed the offenses of Interstate Threatening Communications, in violation of

18 U.S.C. § 875(c). I further submit that there is probable cause to believe that a search of the

device identified and described in Attachment A will reveal evidence of those crimes in the

information sought to be seized as described in Attachment B.

                                                      Respectfully Submitted,


                                                      ____________________________________
                                                      Keith Murray, Special Agent
                                                      Federal Bureau of Investigation


     Affidavit submitted by email and attested to me as true and accurate by telephone

consistent with Fed. R. Crim. P. 4.1 and 4(d), this    day of October, 2022.



_________________________________________
Honorable Matthew J. Maddox
United States Magistrate Judge
